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                                       UNITED STATES DISTRICT COURT
                                        NORTHERN DISTRICT OF TEXAS
                                             DALLAS DIVISION

JOSE HIGAREDA, INDIVIDUALLY AND  §
                                 §
AS NEXT OF FRIEND FOR C.H. A MINOR
(AND AS A BYSTANDER) AND MARTHA  §
GONZALEZ                         §
                                 §                                    CIVIL ACTION NO.
     Plaintiffs,                 §
                                 §
v.                               §
                                 §
TRUCKMOVERS.COM, INC., NORTON    §
TRANSPORT, INC., YADIRA CARRILLO §
AND CALVIN RUTLEDGE INDIVIDUALLY §
                                 §
     Defendants.                 §

                                           NOTICE OF REMOVAL

          Defendant Truckmovers.com, Inc. files its Notice of Removal pursuant to 28 U.S.C. §

1332, 28 U.S.C. § 1441, and 28 U.S.C. § 1446, hereby removing this lawsuit from County Court

of Dallas County, Texas to this Court, and would respectfully show the Court as follows:

                                                    I.
                                                 PARTIES

          1.         Plaintiff Jose Higareda is an individual residing in the State of Texas and for the

purposes of diversity of citizenship, Plaintiff is a citizen of Texas.

          2.         Plaintiff Jose Higareda, as Next of Friend for C.H. a Minor Child is an individual

residing in the State of Texas and for the purposes of diversity of citizenship, Plaintiff is a citizen

of Texas. Nunn v. Feltinton, 294 F.2d 450, 453 (5th Cir. 1961) (“[R]epresentatives may stand

upon their own citizenship in the federal courts irrespectively of the citizenship of the persons

whom they represent, -- such as executors, administrators, guardians, trustees, receivers, etc.”).

          3.         Plaintiff Martha Gonzalez is an individual residing in the State of Texas and for

the purposes of diversity of citizenship, Plaintiff is a citizen of Texas.
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          4.         Defendant Calvin Rutledge is an individual residing in Goodlettsville, Tennessee

and for the purposes of diversity of citizenship, Defendant is a citizen of Tennessee.

          5.         Defendant Truckmovers.com, Inc. (“Truckmovers”) a Missouri corporation with

its principal place of business in Missouri. For the purposes of diversity jurisdiction, Defendant

is a citizen of Missouri.

          6.         Defendant Norton Transport, Inc. (“Norton”) is incorporated in Georgia and, upon

information and belief, Defendant Norton is a citizen of Georgia.

          7.         Defendant Yadira Carrillo is an individual residing in Texas but has been

improperly joined in this lawsuit. Thus, her citizenship should be ignored for purposes of

determining diversity of citizenship.

                                                 II.
                                             BACKGROUND

          8.         On April 16, 2019, Plaintiff Jose Higareda filed the lawsuit styled Jose Higareda

v. Truckmovers.com, Inc. and Calvin Rutledge, Individually, in the County Court of Dallas

County, Texas, Cause No. CC-19-02245-A (the “State Court Lawsuit”). On June 5, 2019,

Plaintiff Jose Higareda filed an amended petition which added Martha Gonzalez as a plaintiff.

On June 14, 2019, Truckmovers filed its Answer in state court. On June 14, 2019, after

Defendant Truckmovers answered, Plaintiffs again amended their petition to add Plaintiff Jose

Higareda’s representation as next friend for C.H., a minor child (and as a bystander) as well as

Defendants Norton Transport, Inc. and Yadira Carrillo (the “Second Amended Petition). As

required by 28 U.S.C. § 1446(a), a true and correct copy of the entire record in the State Court

Lawsuit, including the Amended Petition and all process, pleadings and orders served upon the

defendants in the State Court Lawsuit, is attached hereto as Exhibit 1 and incorporated herein by

reference.

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          9.         On May 24, 2019, Truckmovers was served for the first time with a citation in the

State Court Lawsuit. A true and correct copy of the citation served upon Truckmovers is

attached hereto as Exhibit 2 and incorporated herein by reference. Accordingly, removal of this

civil action is filed within thirty days after receipt by Truckmovers of the initial pleading setting

forth the claim for relief upon which this action is based, as required by 28 U.S.C. § 1446(b)(1).

No other Defendants have been served; therefore, their consent to this removal is not required.

          10.        In the Second Amended Petition, Plaintiffs allege that on June 30, 2017, they

were injured in an automobile accident. Specifically, Plaintiffs allege that Defendant Calvin

Rutledge was driving a truck owned by Truckmovers when he negligently struck several vehicles

on the highway, lost control of his vehicle, and then crossed an embankment and struck the

vehicle Plaintiffs were traveling in. Plaintiffs also make a vague allegation that Defendant

Yadira Carrillo is somehow negligent for failing to keep a proper lookout or take evasive action;

however, Plaintiffs only allege Defendant Rutledge struck their vehicle. There is no connection

between Defendant Yadira Carrillo and Plaintiffs’ alleged injuries.

                                                   III.
                                                  VENUE

          11.        Venue is proper in this Court under 28 U.S.C. § 1441(a), because this district and

division of this Court embraces Dallas County, Texas, the place where the State Court Lawsuit

was filed.

                                                  IV.
                                          BASIS OF REMOVAL

          12.        The State Court Lawsuit is removable to this Court under 28 U.S.C. §§ 1332(a)(1)

and 1441(a). This Court has original jurisdiction based upon diversity of citizenship among the

parties because there is complete diversity between Plaintiffs, citizens of Texas, and Defendants

Rutledge, Truckmovers, and Norton, none of whom are citizens of Texas. Because Plaintiffs’
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claims against Defendant Yadira Carrillo were improperly joined, the citizenship of the only

non-diverse defendant, Carrillo, may be ignored for purposes of determining diversity

jurisdiction.        Tapscott v. MS Dealer Service Corp., 77 F.3d 1353, 1360 (11th Cir. 1996),

abrogated in part on other grounds Cohen v. Office Depot, Inc., 204 F.3d 1069 (11th Cir. 2000).

Finally, the amount in controversy between the parties, exclusive of interest and costs exceeds

$75,000.

                                                     V.
                                       DIVERSITY JURISDICTION EXISTS

A.        Complete Diversity Exists

          13.        This case is removable on the basis of diversity of citizenship. There is complete

diversity, as required by 28 U.S.C. § 1332, between Plaintiffs, who are citizens of Texas, and

Defendants Rutledge, Truckmovers, and Norton, none of whom are citizens of Texas. Defendant

Yadira Carrillo has been improperly joined, as set forth below.

          1.         Improper Joinder of Yadira Carrillo

          14.        The doctrine of fraudulent joinder requires courts to ignore the lack of diversity

between a plaintiff and defendant where there is no possibility that the plaintiff will be able to

establish a cause of action against the non-diverse defendant. See Larroquette v. Cardinal

Health 200, Inc., 466 F.3d 373, 376 (5th Cir. 2006) (affirming denial of remand where court

found improper joinder of in-state defendant because there was no possibility of recovery by the

plaintiff against in-state defendant). The fraudulent joinder or “improper joinder”1 doctrine is

applicable when a non-diverse party is added solely to deprive the federal courts of diversity

jurisdiction. Courts in this circuit recognize this doctrine and agree that the citizenship of


1
  The Fifth Circuit prefers to refer to the doctrine as “improper joinder” since the removing defendant need not prove
fraud. Smallwood v. Ill. Cent. R.R. Co., 385 F.3d 568, 571 n.1 (5th Cir. 2004) (“Although there is no substantive
difference between [‘improper joinder’ and ‘fraudulent joinder’], ‘improper joinder’ is preferred.”).
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improperly joined, non-diverse parties should be disregarded for the purpose of determining

diversity. Vaillancourt v. PNC Bank, Nat’l Ass’n, 771 F.3d 843, 847 (5th Cir. 2014) (holding

that the district court had jurisdiction because non-diverse defendants were improperly joined);

Heritage Bank v. Redcom Labs., Inc., 250 F.3d 319, 323 (5th Cir. 2001) (holding that the district

court properly exercised diversity jurisdiction despite presence of non-diverse defendant,

because that defendant had no legal interest in dispute); Griggs v. State Farm Lloyds, 181 F.3d

694, 699 (5th Cir. 1999) (finding that the plaintiff’s remand was properly denied because the

non-diverse defendant was fraudulently joined).          Upon application of the improper joinder

doctrine, the district court temporarily assumes jurisdiction over the facially non-diverse case,

and if there is no reasonable basis for imposition of liability under state law, dismisses the non-

diverse party from the case and retains subject matter jurisdiction over the remaining claims.

          15.        To demonstrate improper joinder, a party must establish either (1) fraud in the

recitation of jurisdictional facts or (2) there is no possibility the plaintiff can establish a cause of

action against the defendant under applicable state law. Mumfrey v. CVS Pharm., Inc., 719 F.3d

392, 401–02 (5th Cir. 2013) (explaining that improper joinder is established by showing actual

fraud in pleading of jurisdictional facts or inability of plaintiff to establish cause of action against

non-diverse party in state court; defendant established that individual defendants were

improperly joined by showing plaintiff had no possibility of recovery against them); Cuevas v.

BAC Home Loans Servicing, LP, 648 F.3d 242, 249–50 (5th Cir. 2011) (holding that non-diverse

defendant was improperly joined because there was no reasonable basis to predict plaintiffs

might be able to recover against that defendant).

          16.        “[I]t is well established that the district court may ‘pierce the pleadings’ and

consider summary judgment-type evidence” when analyzing whether fraudulent joinder has


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occurred. Ross v. Citifinancial, Inc., 344 F.3d 458, 462-63 (5th Cir. 2003). Here, a review of the

evidence demonstrates that there is no reasonable basis to predict Plaintiffs will recover against

Yadira Carrillo for any of the claims they have asserted; therefore, she is improperly joined to

this case.

          17.        Plaintiffs allege that Yadira Carrillo is liable for negligence.     See Second

Amended Petition, Section VI. However, Plaintiffs have not alleged any facts to support this

negligence claim. In fact, Plaintiffs admit that Defendant Rutledge struck Defendant Carrillo

before veering off the highway and then striking Plaintiffs’ vehicle. Id. at § IV. A certified copy

of the police report is attached as Exhibit 3 and shows that Defendant Rutledge was driving Unit

1, Yadira Carrillo was driving Unit 2, and the Plaintiffs were traveling in Unit 4.                The

investigating officer stated that Defendant Rutledge hit Yadira Carrillo by veering from his lane

of travel and rear-ending her vehicle on the highway. See Exhibit 3. Defendant Rutledge then

drove off the highway, crossed an embankment, and hit Plaintiffs’ vehicle which was traveling

on the access road to the highway. Id. It is clear that Yadira Carrillo’s vehicle was never near

Plaintiffs’ vehicle. Further, the investigating officer did not cite Yadira Carrillo with any moving

violation. Id. Quite simply, Yadira Carrillo was not the proximate cause of Plaintiffs’ injuries.

Plaintiffs have failed to plead any facts as to how Yadira Carrillo caused their injuries.

          18.        If there is no reasonable basis for predicting that the plaintiff might be able to

establish the non-diverse defendant’s liability on the facts, the court should ignore that non-

diverse defendant’s citizenship for purposes of diversity. Ross, 344 F.3d at 462-63 (reasonable

possibility of recovery, not merely theoretical one, defeats removal). Here, there is no possibility

that the Plaintiffs can recover from Yadira Carrillo. Therefore, this Court should apply the

doctrine of improper joinder and assume jurisdiction over the facially non-diverse case, dismiss


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Defendant Yadira Carrillo from the case, and retain subject matter jurisdiction over the

remaining claims.

          C.         Amount in Controversy

          19.        The Amended Petition states that Plaintiffs seek over one million dollars in

damages.         As such, Plaintiffs alleged damages in its Amended Petition exceed $75,000,

exclusive of interest and costs, satisfying the amount in controversy element of diversity

jurisdiction. 28 U.S.C. § 1332(a).

                                                    VI.
                                       OTHER PREDICATES FOR REMOVAL

          20.        In accordance with 28 U.S.C. § 1446(a), a true and correct copy of the entire

record in the State Court Lawsuit, including Plaintiffs’ Amended Petition therein and all process,

pleadings and orders served upon defendants in the State Court Lawsuit, is attached hereto. See

Exhibit 1.

          21.        As required by 28 U.S.C. § 1446(d), Truckmovers is filing with the Court in the

State Court Lawsuit a true and correct copy of this Notice of Removal, giving notice that the

State Court may proceed no further with respect to this action.

          22.        By filing this Notice of Removal, Truckmovers does not intend to waive any

defenses it may have to Plaintiffs’ claims.

          WHEREFORE, Defendant Truckmovers.com, Inc. requests that the Court accept

jurisdiction over this case against them for the reasons set forth above, and grant it such other

and further relief to which it has shown itself justly entitled.




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                                                    Respectfully submitted,


                                                    /s/ Joseph Turano
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                                                    ATTORNEYS FOR DEFENDANT
                                                    TRUCKMOVERS.COM, INC.


                                       CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was emailed to counsel of record by
electronic mail on June 24, 2019.


                                                    /s/ Joseph Turano
                                                    JOSEPH TURANO




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